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     Lead Counsel for Lead Plaintiff Jeffery S. Lew
11
12                           UNITED STATES DISTRICT COURT
13
                              FOR THE DISTRICT OF ARIZONA
14
15                                                    No. CV-24-00594-PHX-SMB
      Jeffery S. Lew, Individually and on Behalf
16    of All Others Similarly Situated                LEAD PLAINTIFF’S NOTICE OF
                                                      SUPPLEMENTAL AUTHORITY
17                        Plaintiff,
18
      v.
19
      ON Semiconductor Corporation; Hassane
20
      El-Khoury, Thad Trent, and Simon Keeton,
21
                          Defendants.
22
23                                                      DATED this 2nd day of January, 2025.
24
                                                                           /s/ Gary A. Gotto
25                                                                             Gary A. Gotto
                                                            Liaison Counsel for Plaintiff Lew
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27
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 1   TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF RECORD:
 2          Plaintiff Jeffery S. Lew (“Lead Plaintiff”) respectfully submits this Notice of
 3   Supplemental Authority to bring to the Court’s attention a relevant Ninth Circuit
 4   Memorandum opinion. Attached as Exhibit A is a true and correct copy of the decision of
 5   the U.S. Court of Appeals for the Ninth Circuit, Ok. Firefighters Pension and Ret. Sys. v.
 6   Snap Inc., 2024 WL 5182634, at *1 (9th Cir. 2024) (“Snap”).1 Snap was issued on
 7   December 20, 2024, and therefore was not available to Lead Plaintiff for citation when he
 8   filed his Memorandum of Law in Opposition to Defendants’ Motion to Dismiss the Second
 9   Amended Complaint (ECF No. 45). Lead Plaintiff submits Snap in further support of said
10   Opposition.
11   DATED:        January 2, 2025       Respectfully submitted,
12
                                          /s/ Gary A. Gotto
13
                                         KELLER RORHBACK L.L.P
14                                       Gary A. Gotto
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                                         Liaison Counsel for Lead Plaintiff
19                                       Jeffery S. Lew and the Class
20
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21                                       Shannon L. Hopkins (admitted pro hac vice)
                                         (State of Connecticut Juris No. 435545)
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25
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      Lead Plaintiff recognizes that the purpose of a notice of supplemental authority is “to
26   merely inform the Court of th[e cited] decision . . . .” Doe v. Blue Cross Blue Shield of Ill.,
27   492 F. Supp. 3d 970, 980 (D. Ariz. 2020) (Brnovich, J.). Should it please the Court, Lead
     Plaintiff is prepared to supplement this notice with explanation of Snap’s relevance.
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                                                   1
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 8                                Lead Counsel for Lead Plaintiff
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